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                    IN THE DISTRICT COURT OF OKLAHOM^jgglj^lfJfsTRICT COURT
                                   STATE OF OKLAHOMA                   OKLAHOMA COUNTY

                                                                             JUL 3 0 20H
CHRIS I. ROBISON,
                                                                             TIM RHODES
                                                                             COURT CLERK
       Plaintiff,
                                                                       75.

V.                                                      Case No.


RELIANCE STANDARD LIFE INSURANCE
COMPANY


       Defendants.
                                                                CJ- 2014-432 F
                                            PETITION
                                      First Cause of Action


       COMES now the Plaintiff, Chris 1. Robison and for her first cause ofaction for breach of

Short Term Disability Insurance Policy, alleges and states:

       1. Thatat all times herein pertinent the Plaintiff was insured as a beneficiary of a Group

Short Term Disability Insurance Policy issued by Defendant Reliance Insurance Company, to her

employer, SandRidge Energy, Inc„ being Policy No. STD-158778.

       2. That said policy provides that Defendant will pay weekly income benefits if an insured

is:



                (1) Disabled due to sickness or injury; and

                (2) becomesdisabled while insuredby the foregoing policy.

       3. Disabled means the insured is:


                (1) unable to do the material duties of her job; and

                (2) not doing any work for payment; and

                (3) under the regular care of a physician.
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      •3. That the weekly benefit for short term disability under the policy is $525.00 per week

for six months. That Plaintiff was disabled for six (6) months for which she is entitled to 26

weeks of disability payments for a total sum of $13,650.00.

          4. That Defendant has breached the terms of the contract for short term disability

insurance by denying her claim on March 13, 2014.

          5. That as a result of Defendant's breach of said short term disability insurance contract,

Plaintiff has suffered damages in the amount of $13,650.00.

          6. Plaintiff filed claims for short term disability benefits, with the Defendant and has

performed all of the conditions precedent under the aforesaid Short Term Disability insurance

policy.

          WHEREFORE Plaintiffasksjudgment on her first cause of action in the amount of

$13,650.00 and her costs, including a reasonable attorney fee.

                                       Second Cause of Action


          7. For her second cause of action, Plaintiff re-alleges and restates the statements and

allegations of her first cause of action and makes them a part of her second cause of actionby

reference thereto.


          8. At all times herein pertinent. Plaintiff was an employee of SandRidge Energy, Inc.

and was insured as a beneficiary by Defendant under its group Long Term Disability Insurance

Policy, being policy number LTD 115067 issued by Defendant to SandRidge Energy, Inc. on

behalfof its employees. Defendant is the Claims Review Fiduciary with respect to the insurance

policy and the Plan and has discretionary authority to interpret the Planandthe insurance policy

and to determine eligibility benefits.
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       • 9. This action arises under the Employee Retirement Income Security Act of 1974, 29

U.S.C. §§ 1001,etseq. This Court's jurisdiction is based on 29 U.S.C. §1132(A)(1)(b) and (E)
(I)-

        10. The LTD policy provides that the insurance company will pay monthly benefit ifthe
insured:


                  (1) isTotally Disabled as the result ofa sickness or injury covered by the policy;
                  (2) is under the regular care of a Physician;

                  (3) has completed the Elimination Period; and

                  (4) submits satisfactory proofof total disability to the insurance company.

        11. The Plaintiff has been totally disabled and unable to carry on substantial gainful

employment since April 5, 2009.

           12. Plaintiff filed claims for long term disability under the said policy, with the

Defendant and has performed all ofthe conditions precedent under the aforesaid group Long
Term Disability Contract.

           13. Defendant denied said long term disability benefits for which claim was made

on March 13, 2014.

           14. Indenying and refusing to pay said long term disability claim, Defendant has acted

arbitrary and capricious and has violated the prudent man standards set forth inTitle 29 U.S.C.
 §§ 1104 and 1105.

           15. Thatas a result of the wrongful, arbitrary and capricious acts of the Defendants,

 Plaintiff has been damaged in excess of the sum of $10,000.00, and court costs.

           WHEREFORE, upon a trial of this cause, Plaintiff asks for judgment in a sum in excess
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of $10,000.00 accrued damages andaccruing damages, and her costs, including a reasonable

attorney fee, and such other relief the Court deems proper.




                                             REXD. BROOKS                OBANo. 1165
                                             Attomey for Plaintiff
                                              1904 NW 23^^ Street
                                             Oklahoma City, OK 73106
                                             Telephone: (405) 525-2200
                                             Facsimile: (405)525-2214
                                             b ro okslaw@coxinet.nel




Attorney's Lien Claimed.
